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 1                                  UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3
 4    UNITED STATES OF AMERICA,               )                  Case No. 2:16-cr-00265-GMN-CWH
                                              )
 5                Plaintiff,                  )
                                              )
 6          v.                                )
                                              )
 7    VICTOR ADAM RAMIREZ,                    )                  ORDER
                                              )
 8                Defendant.                  )
                                              )
 9    _______________________________________ )
10           Presently before the Court is Defendant Victor Adam Ramirez’s motion for extended library
11    time (ECF No. 477), filed on December 21, 2017. The government filed a response (ECF No. 481)
12    on January 4, 2018. Defendant did not file a reply.
13           Defendant, who is presently incarcerated, moves for this Court to order Southern Nevada
14    Detention Center to allow him up to six hours of library time per day, to allow him to assist in
15    preparing his own defense. Defendant is currently represented in this matter by attorney Telia
16    Williams. Defendant does not suggest that his current representation is inadequate, or specify any
17    particular issue that requires further research on his part. Further, Defendant does not provide any
18    authority that would allow this Court to order Southern Nevada Detention Center to make such an
19    allowance for a represented Defendant. The Court will therefore deny the motion.
20           IT IS THEREFORE ORDERED that Defendant’s motion for library time (ECF No. 477) is
21    DENIED.
22           DATED: January 18, 2018
23
24                                                           _________________________________
                                                             C.W. Hoffman, Jr.
25                                                           United States Magistrate Judge
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